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                 EXHIBIT 3
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                                                   Friday, March 21, 2025 at 11:13:59 Eastern Daylight Time

Subject: RE: American Oversight V. U.S. Department Of Government ELiciency Et Al - Civ. A. No. 25-0409
Date:    Friday, March 21, 2025 at 10:08:35 AM Eastern Daylight Time
From:    Bardo, John (USADC)
To:      Elizabeth Haddix
CC:      David Kronig


Elizabeth,

I spoke with OMB. They cannot agree to a stipulated order on such a short timeline but they assured
me that they are complying with the Federal Records Act to preserve all records including those
responsive to the FOIA request.

I have not yet received a ﬁnal answer from DOGE but will let you know if they respond in the interim.

I should add that the agencies would also need to preserve records in order to comply with the
litigation hold letter that we send out.

In response to your other questions, we are not going to agree to any discovery. I am not sure what
kind of timeline you had in mind for “expedited brieﬁng” but we do not do brieﬁng until we have
processed all of the records and determined that we cannot resolve the disputes among ourselves.


John J. “Jack” Bardo
Assistant United States Attorney
Phone: (202) 870-6770


From: Bardo, John (USADC)
Sent: Thursday, March 20, 2025 10:18 AM
To: Elizabeth Haddix <elizabeth.haddix@americanoversight.org>
Cc: David Kronig <david.kronig@americanoversight.org>
Subject: RE: American Oversight V. U.S. Department Of Government Eﬃciency Et Al - Civ. A. No. 25-
0409

Ms. Haddix,

We will preserve all records in accordance with federal record retention laws. We absolutely will not
be agreeing to discovery because FOIA does not provide for discovery.

I have been preoccupied with TROs and have not had the opportunity to look closely at this case.
That is the reason we are requesting the extension.

John J. “Jack” Bardo
Assistant United States Attorney
Phone: (202) 870-6770

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From: Elizabeth Haddix <elizabeth.haddix@americanoversight.org>
Sent: Thursday, March 20, 2025 10:13 AM
To: Bardo, John (USADC) <John.Bardo@usdoj.gov>
Cc: David Kronig <david.kronig@americanoversight.org>
Subject: [EXTERNAL] Re: American Oversight V. U.S. Department Of Government Eﬃciency Et Al - Civ. A.
No. 25-0409

Mr. Bardo:

Please note that you used an incorrect email for me in your below message.

The urgency of the information American Oversight requested on an expedited basis on Jan. 30
precludes our ability to waive deadlines or agree to any further delay. Will your client stipulate on
the record in this case that it (1) has preserved and will continue to preserve all records potentially
responsive to American Oversight’s eight FOIA requests and (2) will agree to limited discovery and
an expedited brieﬁng schedule on the merits of whether it is subject to FOIA? If not, we intend to
promptly seek Judge Howell’s intervention.

We look forward to hearing from you before the end of today.

Thanks,
Elizabeth

Elizabeth Haddix | she/hers
Senior Counsel | American Oversight
elizabeth.haddix@americanoversight.org
(252) 359-7424 ext. 1031
www.americanoversight.org | @weareoversight



From: Bardo, John (USADC) <John.Bardo@usdoj.gov>
Date: Wednesday, March 19, 2025 at 5:00 PM
To: David Kronig <david.kronig@americanoversight.org>, Haddix@americanoversight.Org
<Haddix@americanoversight.Org>
Subject: American Oversight V. U.S. Department Of Government ELiciency Et Al - Civ. A.
No. 25-0409

Good afternoon,

I will be handling this case on behalf of the Government. Would you all be willing to consent to a 30-
day extension of our response deadline? I am currently bogged down with TROs.

John J. “Jack” Bardo
Assistant United States Attorney


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United States Attorney’s Office
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